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Attorney for Plaintlff BOB CAMPBELL RANCHES,

UNI'I`ED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

BOB CAMPBELL RANCHES, INC., CRS€ NO- 2115-CV-9118-R-GJS

 

a California Corporation, Hq@ia@ OR])ER @N,-DEMYNC¢[
gTIPULATI:!|N FOR FILING OF
Plaintiff, AMENDED COMPLAINT
v.
UNITED STATES FIRE
INSURANCE COMPANY, a

Delaware Corporation; CRUM AND
FORSTER, INC., a New Jersey
Corporation; and DOES 1 through 50
inclusive.

Defendants.

 

Pursuant to the Stipulation of the Parties, it is hereby ordered that P]aintiff
shall be permitted to tile the FirSt Amended Complaint, attached to the Stipu]ation.

It is further ordered that Defendant Shall have 21 days from the date of this Order

1
Order on Stipulation for Filing of Amended Complaint
Bob Campbeil Ranches, Inc. v. U.S. Fires Ins. Co

(Case No. 2:]5-cv-9118-R-GJS

 

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1 to tile a response to the Amended Complaint. lt is iilrther ordered that the hearing
date on the motion to dismiss and motion to Strike set for Janualy 19, 2016 is

Vacated.

rr IS So oRDERED. _
Dated: \'“ (.O "ZOH.O pe~lsp

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Ordec' on Stipulation for Fiiing of A111e11ded Complaint
Bob Camobel] Rauches` lnc. v. U.S. Fires Ins. Co

(Case No. 2115-cv~91 lS-R-GJS

 

 

 

